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                      UNITED STATES COURT OF APPEALS
                                                                      FILED
                             FOR THE NINTH CIRCUIT
                                                                      APR 26 2017
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




   CINDY OMIDI; et al.,                        No. 15-55667

                 Petitioners - Appellants,
                                               D.C. No. 2:15-cv-00389-ODW-VBK
     v.                                        U.S. District Court for Central
                                               California, Los Angeles
   UNITED STATES OF AMERICA,
                                               MANDATE
                 Respondent - Appellee.


          The judgment of this Court, entered March 13, 2017, takes effect this date.

          This constitutes the formal mandate of this Court issued pursuant to Rule

  41(a) of the Federal Rules of Appellate Procedure.

                                                 FOR THE COURT:

                                                 MOLLY C. DWYER
                                                 CLERK OF COURT

                                                 By: Jessica F. Flores Poblano
                                                 Deputy Clerk
                                                 Ninth Circuit Rule 27-7
